                      Case 2:07-cr-00155-MHT-TFM Document 106 Filed 03/04/08 Page 1 of 8
   A0 245B (Rev. 06/05) Judgment in a Criminal Case
              Sheet 1



                                        UNITED STATES DISTRICT COURT
                         MIDDLE                                    District of                                ALABAMA
          UNITED STATES OF AMERICA                                         JUDGMENT IN A CRIMINAL CASE
                             V.

               CECILY LOTIA PROVO                                          Case Number:                     2:07cr155-01-MHT

                                                                                                                 (WO)

                                                                           USM Number:                       12254-002

                                                                           Daniel G. Hamm
                                                                           Defendant's Attorney
THE DEFENDANT:
X pleaded guilty to count(s)        1, 16 and 28 of the Indictment on December 4, 2007
0 pleaded nob contendere to count(s) __________________________________________________________________________________
   which was accepted by the court.
   wasfound guilty on count(s) ____________________________________________________________________________________
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                   Nature of Offense                                                         Offense Ended                Count
18 USC 1349                       Conspiracy to Commit Bank Fraud                                           7/18/2007
18 USC 1349 and 2                 Bank Fraud and Aiding and Abetting                                        10/31/2006                     16
18 USC 1028A(a)(l) and            Aggravated Identity Theft and Aiding and Abetting                         10/31/2006                     28
2


       The defendant is sentenced as provided in pages 2 through _________ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
[J The defendant has been found not guilty on count(s)          _____________________________________________________________
X Count(s) 2-15, 17-27, 29-32, and 33                    0 is      X are dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are filly paid. If ordered to pay restitution,
the defendant must notif' the court and United States attorney of material changes in economic circumstances.

                                                                           February 21,2008
                                                                           Date of Imposition of Judgment



                                                                           Signature of Judge




                                                                          MYRON H. THOMPSON, UNITED STATES DISTRICT JUDGE
                                                                          Name and Title of Judge
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AO 245B (Rev. 06/05) Judgment in Criminal Case
          Sheet 2— Imprisonment

                                                                                                   Judgment - Page    2   of   8
DEFENDANT:                   CECILY LOTIA PROVO
CASE NUMBER:                 2:07cr155-01-MHT


                                                          IMPRISONMENT

        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of

45 Months. This sentence consists of 21 months, on each of Counts 1 and 16, to be served concurrently with each other, and
24 months on Count 28, to be served consecutively to the terms imposed on Counts 1 and 16.


     XThe court makes the following recommendations to the Bureau of Prisons:
       1. The court reconunends that the defendant be designated to a facility where drug counseling and treatment is available.
      2. The court recommends that the defendant be designated to a facility near Montgomery, Alabama to be near her children.
       3. The court recommends that the defendant be designated to a facility where parenting classes are available.


     XThe defendant is remanded to the custody of the United States Marshal.

     [JThe defendant shall surrender to the United States Marshal for this district:
        oat ____________________ 0 a.m. 0 p.m. on
        o as notified by the United States Marshal.

     DThe defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before 2 p.m. on
        o as notified by the United States Marshal.
        0 as notified by the Probation or Pretrial Services Office.


                                                                 RETURN
I have executed this judgment as follows:




        Defendantdelivered on ____________________________________ to _______________________________________

at__________________________________ , with a certified copy of this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                        By
                                                                                            DEPUTY UNITED STATES MARSHAL
                       Case 2:07-cr-00155-MHT-TFM Document 106 Filed 03/04/08 Page 3 of 8
AO 245B      (Rev. 06/05) Judgment in a Criminal Case
             Sheet 3— Supervised Release
                                                                                                            Judgment—Page      3     of        8
DEFENDANT:     CECILY LOTIA PROVO
CASE NUMBER: 2:07cr155-01-MHT
                                                         SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:

5 Years. The term consists of terms of 5 years on each of Counts 1 and 16, and 1 year on Count 28, all such terms to run concurrently.



     The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Pnsons.
The defendant shall not commit another federal, state or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter, as determined by the court.
0 The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
     fI.iture substance abuse. (Check, if applicable.)
X The defendant shall not possess a fireann, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
X The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
C] The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
     student, as directed by the probation officer. (Check, if applicable.)
0 The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
    If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with the
Schedule of Payments sheet of this judgment.
     The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                          STANDARD CONDITIONS OF SUPERVISION
  1)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
          each month;
  3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)      the defendant shall support his or her dependents and meet other family responsibilities;
  5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;
  6)      the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
          felony, unless granted permission to do so by the probation officer;
 10)      the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
 11)      the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
       permission of the court; and
 13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
       record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
       defendant s compliance with such notification requirement.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 3C - Supervised Release
                                                                                             Judgment—Page     4    of       8
DEFENDANT:                CECILY LOTIA PROVO
CASE NUMBER:              2:07cr155-Ol-MHT

                                         SPECIAL CONDITIONS OF SUPERVISION
1. The defendant shall attend and participate in adult basic education classes or vocational rehabilitation classes in order to
obtain a GED, if not already obtained while in custody, and to gain employment skills.
2. The defendant shall participate in a parenting program approved by the probation officer. The defendant shall contribute to
the cost of such program based on ability to pay and the availability of third-party payments.
3. The defendant shall participate in a program approved by the probation officer for mental health treatment and evaluation.
The defendant shall contribute to the cost of such program based on ability to pay and the availability of third-party
payments.
4. The defendant shall submit to a search of her person, residence, office, and vehicle pursuant to the search policy of this
court. Such search shall include, but are not limited to documents, papers, computer, other electronic communication or data
storage devices or media, and effects upon reasonable suspicion concerning a violation of a condition of supervised release or
unlawful conduct by the defendant, or by any probation officer in the lawful discharge of the officer's supervision functions.
5. The defendant shall provide the probation officer any requested financial information.
6. The defendant shall not obtain new credit or open any banking account (checking or savings) without approval of the
probation officer.
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AO 245B    (Rev. 06/05) Judgment in a Criminal Case
           Sheet 5—Criminal Monetary Penalties
                                                                                                    Judgment- Page     5      of ______________
DEFENDANT:                         CECILY LOTIA PROVO
CASE NUMBER:                       2:07cr155-01-MHT
                                               CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                       Fine                               Restitution
TOTALS             $ 300                                          $                                    $ 18,720.53*


o The determination of restitution is deferred until ______. An Amended Judgment in a Criminal Case (AO 245C) will be entered
    after such determination.

X The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

     If the defendant makes a partial payment, each payee shall receive an approximatelyproportioned payment, unless specified otherwise in
     the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
     before the United States is paid.

Name of Payee                                  Total Loss*                    Restitution Ordered                    Priority or Percentage


*SEE ATFACHED PAGES                                                          *SEE ATTACHED PAGES
      (2 pages)                                                                     (2 pages)




TOTALS                              $                         0          $         18, 720.53


0 Restitution amount ordered pursuant to plea agreement $ ________________________
0 The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 36 12(g).

0 The court determined that the defendant does not have the ability to pay interest and it is ordered that:
      0 the interest requirement is waived for the 0 fine 0 restitution.

      0 the interest requirement for the 0 fine 0 restitution is modified as follows:



* Findings for the total amount of losses are required under Chapters 109A, 110, 1 bA, and 1 13A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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AO 245B     (Rev. 06/05) Judgment in a Criminal Case
            Sheet 6— Schedule of Payments

                                                                                                          Judgment - Page      6     of      8
 DEFENDANT:                  CECILY LOTIA PROVO
 CASE NTJMBER:               2:07cr155-01-MHT


                                                       SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:
A x Lump sum payment of $ 19,020.53                           due immediately, balance due

            El    not later than __________________________ , or
                  in accordance         l C, [I D, 0 E, or 0 F below; or
B x Payment to begin immediately (may be combined with 0 C,                           0 D, or x F below); or

C 0 Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ____________ over a period of
       ____________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after the date of this judgment; or

D D Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ ___________ over a period of
      ___________ (e.g., months or years), to commence __________ (e.g., 30 or 60 days) after release from imprisonment to a
       term of supervision; or

E D Payment during the term of supervised release will commence within ___________ (e.g., 30 or 60 days) after release from
        imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F X Special instructions regarding the payment of criminal monetary penalties:
           All criminal monetary penalty payments shall be made to the Clerk, United States District Court, Middle District of Alabama, Post
           Office Box 711, Montgomery, Alabama 36101. Any balance remaining at the start of supervision shall be paid a rate of not less
           than $50 per month.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment ofcriminal monetary penalties is due during
imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



0 Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




0 The defendant shall pay the cost of prosecution.

0 The defendant shall pay the following court cost(s):

0 The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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                                 VICTIMS ADDRESSES
                                2:O7CR0001 55-001 -MHT
                   DEFENDANT: CECILY LOTIA PROV, aka CE CE," aka "cC"
                          Case 2:07-cr-00155-MHT-TFM Document 106 Filed 03/04/08 Page 8 of 8
                                                                  VICTIMS ADDRESSES
                                                                  2:07CR000155-OO1-MHT
                                                     DEFENDANT: CECILY LOTIA PROV, aka CE CE, aka CC



Tul-County Foodaervlce, mc, Stephanie Dison   P0 Box 1346                     Sylacauga         AL        35150    256-207-3353             30.08

Walgreena                                     3892 Atlanta Highway            Montgomery        AL        36109    334-270-0368            106.60

 ai-Mafl #3271, Attn: Accounting              5100 Hwy 31                     Calera            AL        35040    205-668-0831            133.71

Wal-Mart #424, Attn: Accounting               1415 7th St. S.                 Clanton           AL        35045     05-755-7574            447.37

Wal-Mart #483                                 1903 Cobba Ford Rd              Prattviiie        AL        36067    334-361-2135            335.55

Wai-Mart#726, AEn: Accounting                 2643 Hwy 280                    Alex City         AL        35010    256-234-0316            342.58



TOTAL_________________________ ______________                                                          ____________ __________________   18,720.53
